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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

IN THE MATTER OF                                   :       CHAPTER 7
                                                   :
North American Airlines Inc.                       :       Case No. 13-12950 (MFW)
                                                   :
         Debtor.                                   :       (Jointly Administered)



      NOTICE TO INTERIM TRUSTEE/ TRUSTEE OF SELECTION IN AN ASSET CASE


TO:     Alfred T. Giuliano


        You are hereby notified of your appointment in an asset case as Interim Trustee/Trustee
of the estate of the above named debtor. The amount of your bond has been fixed by the United
States Trustee. You are required to notify T. PATRICK TINKER, ASSISTANT UNITED
STATES TRUSTEE, at J. Caleb Boggs Federal Building, 844 King Street, Suite 2207,
Wilmington, DE. 19801 in writing within (5) days after receipt of this notice only if you reject
this case.


                                            ROBERTA DEANGELIS
                                            UNITED STATES TRUSTEE
                                            T. PATRICK TINKER
                                            ASSISTANT UNITED STATES TRUSTEE

DATED:         October 1, 2014
